Case 0:23-cv-61256-JB Document 181-1 Entered on FLSD Docket 06/18/2025 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 23-cv-61256-JB

   MONARCH AIR GROUP, LLC,

        Plaintiff,

   v.

   JOURNALISM DEVELOPMENT
   NETWORK, INC.,

      Defendant.
   ____________________________________/

   [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION FOR LEAVE TO FILE
                 REPLY IN SUPPORT OF ITS OBJECTIONS TO
              MAGISTRATE’S REPORT AND RECOMMENDATION

          THIS CAUSE came before the Court upon the Defendant Journalism Development

  Network, Inc.’s Motion for Leave to File Reply In Support of Its Objections to Magistrate’s Report

  and Recommendation (the “Motion”), ECF No. [181]. Upon due consideration of the Motion, the

  pertinent portions of the record and all relevant authorities, it is hereby ORDERED AND

  ADJUDGED that the Motion is GRANTED. Defendant may file a reply brief of no more than

  five pages in support of its Objections to the Magistrate’s Report and Recommendation on or

  before June 30, 2025.

          DONE and ORDERED in Miami, Florida, this ____ day of June, 2025.


                                                       _____________________________
                                                       JACQUELINE BECERRA
                                                       UNITED STATES DISTRICT JUDGE
